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APPEND|X C

/DlSPUTE RESOLUT|ON PROCEDURE
AND MUTUAL BlN'DING' ARBITRAT|ON AGREEMENT

 

Agregmegt to use Dispute Resolution Prgcegure:

l hereby agree that any claims, disputes or controversies arising between me and
vVENUE RESTAURANT LLO dlbla Red Rooster Har|em (“Company”), which could give rise to
a legal claim relating to my employment with Company or the termination thereof,
including the interpretation or application of this Dispute Resolution Procedure and
Mutual Binding Arbitration Agreement (“Agreement”), shall be addressed m the
following manner: .

First, through good faith negotiation between me and Company.

Second, at,the Company’s option, through`mediation administered by a mediator
approved.by me and Companyiand paid for by Company. _

And third, if still not resolved, by binding arbitration under the Federal Arbitration Act
administered by the AAA (American Arbitration Association) (“AAA”) pursuant to its
Employment Arbitration Rules and Mediation Procedures then 1n effect. Both the
Company and l shall be entitled to adequate discovery prior to the arbitration as
determined by the arbitrator, who shall be selected__in accordance with AAA’s rules.
Both the Company and l shall have the right to be represented by counsel of their
choice, and l will be responsible for retaining my own attorney. l understand that copies

of the AAA rules and policies are available to me at §1 w j:i!www. adr. or and that a hard
copy is available to me upon request. lf for any reason AAA is n6t available, the
arbitration shall be administered by JAMS, The Resoiution Experts pursuant to its
Employment Arbitration Rules then in effect for employment disputes.

Thls Agre§ megt Agglies to Both Me and Comp_any:

l understand and agree that the procedures outlined in this Agreement will be the
exclusive means of redress for any disputes relating to or arising from my employment
with Company, whether such disputes are initiated by me or Company, including
disputes over rights provided by federal, state, or local statutes, regulations,
ordinances, and common law. The types of'disputes covered by this Agreement
include, but are not limited to, claims brought pursuant to “i'itle Vll of the Civil Rights Act
of 1964, the Civil Rights Act of 1866, the Age Discrimination° m Employment Act, the
Older Workers Benef' t Protection Act, the Worker Adjustment and Retraining
Notification Act, the Americans with Disabilities Act, the Occupational Safety and
Health Act, the Employee Retirement lncome Security Act of 1974, the immigration
Reform and Control Act, the National Labor Relations Act, the Consolidated Omnibus
Reconciliation Act (“COBFSA”), the Fami|y Medical Leave Act, the New York State

 

 

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Human Rights Law, the New York City Human Rights Law, the New York Labor Law, the
New York Wage Theft Prevention Act, the New York State Hospitality Wage Orde_r, the
New York State Wage Order for the Restaurant lndustry, and/or any other federal,
state or local statute, law, ordinance, regulation or order, or the common law, or
any self-regulatory organization rule or regulation. However, claims prohibited by
law to be arbitrated shall not be subject to this Agreement.

l understand and agree that the arbitration will take place in New York, New York unless
another location is mutually agreed upon by me and Company.

l acknowledge that arbitration does not involve a jury, and that l will not be entitled to a
trial in court with ajury. l agree that the arbitrator's award will be final and binding on ,
both pa`rties. l(unders'tand that any challenges to the enforceability of this Agreement
must be resolved by»the arbitrator in arbitration and not in court." l understand that
each party must pay-its own attorneys’ fees in connection with the arbitration, and that
the arbitrator may not award attorneys’ fees unless the claims involve a contractor
statute that allows for attorneys’ fees to the prevailing party.

Each party will have the right to request that the arbitrator issue a written decision that
memorializes the essential findings of fact and law and the conclusions upon which the
arbitrator's decision and the award, if any, are based. Company will pay the fees for the
arbitrator and the use of the arbitration forum, except that l will contribute towards the
fees in an amount consistent with the amount l would have spent to pursue the matter in
court.

lf any parts of this Agreement are found to be invalid, illegal or unenforceable, the
validity, legality and/or enforceability of the remaining provisions will not be affected or
impaired by that determination. |f any terms or sections of this Agreement are
determined to be unenforceable, they shall be modified so that the unenforceable term
or section is enforceable to the greatest extent possible.

Class Action Waiv.er:

The Company and l expressly intend and agree as follows: (1) that class action and
representative action procedures shall not be asserted, nor will they apply, in any
arbitration pursuant to this Agreement; (2) that neither the Company nor l will assert,
participate in, or join class action or representative action claims against the other in
arbitration or otherwise; and (3) that the Company and l shall only submit our own,
individual claims in arbitration and will not seek to represent the interests of any other
person.

lnitiatlng the Disgute Resolution Process:

ln accordance with this Agreement, and to facilitate good faith negotiations to resolve it
promptly, l agree to give written notice to the General Manager of Red Rooster Harlem,

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RED RO('|STER
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stating the nature of my claim in sufficient detail to advise Company of the nature of the
dispute, including the timeframe of the issues involved, the names of anyone at the
Company with knowledge of the dispute, and my requested relief. The Company agrees
to do the same if it initiates any claim against me. l understand that this information will
be used to investigate the claim, so that Company and l can engage in good faith
negotiations to resolve it promptly in accordance with the three steps outlined above.

Cont_i_'act of Employment

Neither the terms nor conditions described iri this agreement are intended to create a
contract of employment for a specific duration of time. Both the employee and Red `
Rooster Harlem are free to terminate the employment relationship with or without cause
or notice at any time.

Governing Law

This agreement shall be governed by and shall be interpreted in accordance with the
laws of the state of New York.

Execution
This agreement may be executed in any number of counterparts, each of which shall be

deemed an original, whether an original or a facsimile or .pdf scan of an original, but all
of which shall constitute one and the same instrument.

The signature of the parties below indicates their agreement to be bound by this
Agreement.

 

 

 

Employee Name Date
Signature

Signature of Company Date
Representative

 

 

 

 

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dispute, including the timeframe of the' issues involved, the names of anyone at the
Company with knowledge of the dispute, and my requested relief. The Company agrees
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-_`_~

 

 

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Employee _Name y ` Date

 

 

Signature

    

 

 

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